                  RENDERED: AUGUST 16, 2024; 10:00 A.M.
                        NOT TO BE PUBLISHED

                 Commonwealth of Kentucky
                           Court of Appeals
                              NO. 2023-CA-0654-MR

CHARLES GREGORY RICE                                                      APPELLANT


                  APPEAL FROM TAYLOR CIRCUIT COURT
v.                 HONORABLE KAELIN G. REED, JUDGE
                         ACTION NO. 20-CI-00238


JIM CHRISTIE AND LORIA
CHRISTIE                                                                  APPELLEES


                               OPINION
                         AFFIRMING IN PART,
                  REVERSING IN PART, AND REMANDING

                                   ** ** ** ** **

BEFORE: COMBS, GOODWINE, AND LAMBERT, JUDGES.

LAMBERT, JUDGE: Appellant, Gregory Rice (“Mr. Rice”), appeals from a

judgment of the Taylor Circuit Court which awarded $100,000.00 in damages to

the Appellees, Jim and Loria Christie (“the Christies”) for improvements they

made to a rental property owned by Mr. Rice. He also appeals from the circuit

court’s order dismissing his counterclaim for unpaid rent. After careful review of

the law and the briefs, we affirm in part, reverse in part, and remand.
                                 I.    BACKGROUND

             The Christies began renting a house on a parcel of land owned by Mr.

Rice and his now ex-wife, Mary Anne Rice (“Ms. Rice”), in July 2013. The

parties entered into an oral lease agreement, the initial terms being that the

Christies would pay $1,000.00 per month for rent. The parties soon began

discussing the prospect of the Christies purchasing the home. The Christies allege

that under the oral agreement, Mr. Rice would sell the home for $185,000.00 and

the Christies would receive a $24,000.00 credit for monies paid towards rent.

There was conflicting testimony as to whether Mr. Rice ever presented a written

agreement with an option to buy the property to the Christies, how many written

lease agreements were presented, and the proposed timeframe of any agreement.

However, it is undisputed by all parties that no written agreement was entered.

             Soon after moving into the home, the Christies began making

improvements. The improvements over the next eight years included installation

of an above ground pool and deck, replacement of some windows, replacement of

garage door, work done to the ceilings of the home, sewage repairs, renovation of

the den, renovation of a bathroom, installation of some new flooring, installation of

new cabinets, painting, framework in the basement, installation of new doors, and

installation of new light fixtures.




                                          -2-
               During their first years of renting the property, they fell behind on

rent. At trial, the Christies admitted they accumulated arrears of $2,000.00, though

Mr. Rice testified that they had fallen behind at least $8,000.00. Mr. Rice claimed

that he presented a letter to Mr. Christie asking for the past due amounts to be

brought current immediately in early 2015. While the letter he produced at trial

appears to have been signed by Mr. Rice, Mr. Christie, and Ms. Rice, it was not

notarized and both Mr. Christie and Ms. Rice denied ever seeing the letter.

Regardless, it is uncontested that the Christies began making additional rent

payments to Mr. Rice which lasted at least into 2017. Ultimately, Mr. Rice

requested damages of $2,000.00 in rent still unpaid at the time of the trial.

               In August 2018, Ms. Rice filed for divorce. Mr. Rice testified that he

told the Christies not to make any more improvements to the property and that he

could not sell the home until the divorce was finalized or possibly at all. However,

the Christies continued to make improvements and claimed Mr. Rice allowed them

to do so.1 Mr. Rice admitted to permitting the Christies to do some work on the

ceilings of the home despite his admonition but denied acquiescing to any other

improvements.




1
  Specifically, the Christies testified that Mr. Rice did not prohibit them from installing the pool
and building a deck for it as well as assented to some work done to the ceilings. The Christies
also acknowledged Mr. Rice provided rent credits for some other repairs, including the
replacement of some windows and the garage door.

                                                 -3-
             The Rices were divorced in October 2019, and Mr. Rice received a

quitclaim deed from Ms. Rice for the property soon thereafter. The parties

continued discussing the sale of the home, and the Christies continued to make

improvements. Eventually, Mr. Rice commissioned a land surveyor to partition a

tract of land for the house. During this process the parties disagreed about a right-

of-way through the contemplated tract of land and eventually all talks to purchase

the home fell through. The Christies filed the underlying complaint on September

16, 2020.

             Initially, the Christies claimed a breach of contract. They further

requested specific performance of the sale of the home pursuant to the parties’ oral

agreement under the theory of estoppel; alternatively, they requested recompense

for the improvements they made to the home under the theory of unjust

enrichment. Mr. Rice filed a counterclaim for unpaid rent and late fees in the

amount of $23,450.00. Later the circuit court, applying the statute of frauds as set

forth in Kentucky Revised Statutes (KRS) 371.010, entered a partial summary

judgment denying the Christies’ request for specific performance, as there was

never a written agreement to sell the property, nor an executed written option.

             During the course of litigation, the Christies employed an appraiser

who completed a report and determined the property to have a fair market value of




                                         -4-
$300,000.00 as of June 2021. The report included a list of all the improvements

Mr. Christie claimed to have made but did not ascribe any specific value to them.

             Eventually in March 2023, the matter was presented to an advisory

jury pursuant to Kentucky Rules of Civil Procedure (CR) 39.03. The jury rendered

an advisory verdict in favor of the Christies on their claim and awarded

$100,000.00 in total damages. The jury also denied Mr. Rice’s counterclaim for

payment of unpaid rent. The circuit court prepared specific findings of fact and

conclusions of law in light of CR 39.03 and CR 52.01, in which it issued a

judgment that matched the advisory jury’s verdict. It also accepted the jury’s

verdict regarding Mr. Rice’s counterclaim.

             Mr. Rice subsequently filed a post-judgment motion to alter, amend,

or vacate, request for a new trial, and for additional findings. The circuit court

denied the motion, and this appeal followed.

                           II.    STANDARD OF REVIEW

             Because the empaneled jury only served in an advisory role regarding

the Christies’ claim of equity, the circuit court was required to make its own

factual findings. CR 52.01; Emerson v. Emerson, 709 S.W.2d 853, 855 (Ky. App.

1986). Findings of fact “shall not be set aside unless clearly erroneous, and due

regard shall be given to the opportunity of the trial court to judge the credibility of

the witnesses.” CR 52.01; see also Lawson v. Loid, 896 S.W.2d 1, 3 (Ky. 1995).


                                          -5-
A factual finding is not clearly erroneous if it is supported by substantial evidence.

Owens-Corning Fiberglas Corp. v. Golightly, 976 S.W.2d 409, 414 (Ky. 1998).

             For questions concerning the admissibility or exclusion of evidence,

our standard of review is whether the circuit court abused its discretion, and the

test for such an abuse is whether circuit court’s decision was “arbitrary,

unreasonable, unfair, or unsupported by sound legal principles.” Porter v. Allen,

611 S.W.3d 290, 294 (Ky. App. 2020) (internal quotation marks and citations

omitted).

                                   III.   ANALYSIS

             The right to recover for improvements made on another’s land sounds

in equity and may be based on the doctrines of unjust enrichment or estoppel. See

Jones v. Sparks, 297 S.W.3d 73, 76 (Ky. App. 2009). To recover under the theory

of unjust enrichment, a party “must prove three elements: (1) benefit conferred

upon defendant at plaintiff’s expense; (2) a resulting appreciation of benefit by

defendant; and (3) inequitable retention of [that] benefit without payment for its

value.” Id. at 78 (citations omitted). The party seeking recovery for having made

improvements to real property must also show he or she was acting in good faith.

Mullins v. Mullins, 797 S.W.2d 491, 493 (Ky. App. 1990) (citing Stepp v. Leslie,

263 S.W.2d 122 (Ky. 1953)). In these instances, acting in good faith includes the

party seeking to recover having a good faith belief that they held title to the


                                          -6-
property upon which they made improvements. Id. (citing Anglin v. Pennington,

296 Ky. 142, 176 S.W.2d 277 (1943)); see also Rose v. Holbrook, 287 S.W.2d 914,

916 (Ky. 1956).

             At trial, the Christies introduced receipts of $26,489.38 in

improvements they made to the property, though Mr. Christie testified that there

were also some other improvements which were paid in cash and no receipts

existed. They argued Mr. Rice would be unjustly enriched if he were to retain the

benefit of these improvements and that the value of the benefit was the difference

between the originally agreed value of the home ($185,000.00) and the appraised

value of $300,000.00. Specifically, the circuit court found in accepting the

advisory jury’s verdict:

                    The evidence shows that the Christies’
             improvements caused the value of the property to
             increase. The parties agreed at some point around July
             2013 that the fair market value of the home was $185,000
             as this is the price at which the Christies were willing to
             buy, and Rice was willing to sell, the home. Jerry Mardis
             valued the home at $300,000 in June 2021. The Court
             will accept the verdict of the advisory jury and finds that
             the improvements made by the Christies have increased
             the value of the Misty Drive property by $100,000. The
             jury could have inferred from the evidence that some of
             the increase in value from 2013 to 2021 to natural market
             forces as there was testimony that the housing market
             was trending upward beginning in 2021 into 2022.
             Furthermore, Mardis did not conduct a specific analysis
             regarding the value added to the home by the
             improvements; he simply determined the market value of
             the home on or about June 22, 2021.

                                         -7-
             On appeal, Mr. Rice does not dispute that the Christies made some

improvements to the property. Instead, he argues that he did not approve of most

of the improvements; it is doubtful whether the improvements increased the value

of the property to the extent of $100,000.00; and the Christies’ claim of equity fails

because they did not have a good faith belief in holding title. We agree. It is clear

from the Christies’ own testimony that they did not have a good faith belief in

holding title to the realty as they: (1) acknowledged that Mr. Rice paid all property

taxes and insurance on the property for the entirety of their tenancy; (2) did not

dispute that Mr. Rice continued to pay for and facilitated some repairs during the

Christies’ tenancy; and (3) accepted some rent credits offered by Mr. Rice for

some other repairs the Christies made and paid for themselves.

             Instead of following Mullins, supra, the circuit court distinguished it,

finding the Christies had reasonably expected to acquire the property in the future

based on the oral option to purchase. It further compared the case at hand to an

extra-jurisdictional case in which the Idaho Supreme Court found unjust

enrichment and awarded recompense for a tenant’s improvements made to real

property in anticipation of the fulfilment of an oral rent-to-own agreement. Asher

v. McMillan, 503 P.3d 172 (Idaho 2021).

             Our holding in Mullins relies upon the precedent of Kentucky’s

highest court as laid out in the cases of Anglin v. Pennington, 296 Ky. 142, 176

                                         -8-
S.W.2d 277 (1943), and Stepp v. Leslie, 263 S.W.2d 122 (Ky. 1953). We are

bound to apply this precedent under Kentucky Rules of the Supreme Court (SCR)

1.030(8)(a) (“The Court of Appeals is bound by and shall follow applicable

precedents established in the opinions of the Supreme Court and its predecessor

court.”). In fact, there are ample cases decided, even before Stepp and Anglin,

similarly holding that only those acting in a good faith belief that they are owners

of the land may be entitled to compensation for improvements made during their

tenancy of the land. See, e.g., Kentucky River Coal Corp. v. Combs, 269 Ky. 365,

107 S.W.2d 241, 244-45 (1937) (discussing Loeb v. Conley, 160 Ky. 91, 169 S.W.

575, 581 (1914) (“If, however, the improvements are not made by a person while

acting in the good[]faith belief that he is the owner of the land, or if they are made

with actual notice of an adverse superior claim, and especially after this adverse

claim has been asserted in a suit, the person making the improvements will not be

entitled to compensation.”); and Tuck v. Sharer, 234 Ky. 296, 28 S.W.2d 22, 24

(1930) (“The rule which permits one who has made improvements on land in his

possession to recover the amount by which such improvements have enhanced its

vendible value applies only to a bona fide claimant of the land, and not to one like

appellant who was not, as we have seen, a purchaser of the land, nor did he enter

thereon under a claim of right, but only as a tenant for a fixed term.”).




                                          -9-
               Applying Kentucky precedent to the case sub judice, there is a dearth

of substantial evidence which would allow the Christies to succeed on their claim

of equity under any theory.2 While some of Mr. Rice’s conduct vis-à-vis the

Christies may have been ambiguous, at most, the evidence shows the Christies

relied upon the hopeful wish that Mr. Rice expressed about selling the home and

the otherwise unenforceable oral option to buy which was appropriately barred by

the statute of frauds. KRS 371.010.

               By adopting the advisory jury’s verdict awarding $100,000.00, the

circuit court essentially side-stepped the statute of frauds and enforced the

otherwise unenforceable oral option to buy, as $115,000.00 would be the entirety


2
  While the Christies mentioned the theory of estoppel in their initial complaint, they have
abandoned any application of it along with their requested relief of specific performance. The
Christies did not raise the argument during the trial below, nor in their brief. However, the
circuit court mentions equitable estoppel in its judgment, which is why we are compelled to note
the issue.

               The essential elements of equitable estoppel are:

               (1) Conduct which amounts to a false representation or
               concealment of material facts, or, at least, which is calculated to
               convey the impression that the facts are otherwise than, and
               inconsistent with, those which the party subsequently attempts to
               assert; (2) intention, or at least expectation, that such conduct shall
               be acted upon by the other party; (3) knowledge, actual or
               constructive, of the real facts.

Smith v. Howard, 407 S.W.2d 139, 143 (Ky. 1966) (citations omitted).

                In this case, there has not been a finding of false representation or concealment,
nor does there exist sufficient evidence from which we can conclude Mr. Rice’s conduct rose to
the level of being considered perpetration of fraud, intentional deceit, or otherwise “evil.” See
Smith v. Ash, 448 S.W.2d 51, 53 (Ky. 1969); see also Mullins, 797 S.W.2d at 493.

                                                -10-
of the difference in equity if Mr. Rice had sold the home to the Christies in 2021.

The circuit court awarded $100,000.00 in damages despite the Christies only

providing evidence of approximately $26,000.00 in improvements and despite no

amount being specifically attributed to the improvements themselves in the 2021

appraisal. In its Findings of Fact, Conclusions of Law, and Judgment the circuit

court merely explained the discrepancy by noting that the jury “could have

inferred” that “some” of the increase in value was attributable to natural

appreciation.

             “The statute of frauds does not lend itself to the issue of whether there

is or is not a contract in existence. Its design and purpose is to prevent the

enforcement of a contract unless, by reason of some exception, the statute of frauds

would be found not applicable.” Bennett v. Horton, 592 S.W.2d 460, 463 (Ky.

1979) (citing Purcell v. Campbell, 261 Ky. 644, 88 S.W.2d 670 (1935)). “[W]here

the statute of frauds is clear and unambiguous, as is the case here, equitable relief

should only be granted under the most limited of circumstances, lest the Court run

afoul of judicially amending the statute in violation of separation of powers.”

Farmers Bank &amp; Tr. Co. of Georgetown, Kentucky v. Willmott Hardwoods, Inc.,

171 S.W.3d 4, 10 (Ky. 2005) (citing C.G. Campbell &amp; Son, Inc. v. Comdeq Corp.,

586 S.W.2d 40 (Ky. App. 1979)). Thus, the circuit court herein erred by

essentially enforcing the purported “oral option to buy.”


                                         -11-
             The remaining item to address is whether the circuit court erred in not

allowing Mr. Rice to submit his rental logs as evidence regarding his counterclaim

for unpaid rent. On that issue we find no abuse of discretion.

             The introduction of business records is permissible as an exception to

the general prohibition against hearsay evidence unless the source of information

or the method or circumstances of preparation indicate lack of trustworthiness.

Kentucky Rules of Evidence (KRE) 803(6). “[W]here the purported declarant of a

statement contained in a business record testifies contrary to the statement

contained in the record itself, the trustworthiness of the record has been called into

question and the trial court would not be abusing its discretion in excluding the

record from the evidence should the situation so warrant.” Welsh v. Galen of

Virginia, Inc., 128 S.W.3d 41, 52 (Ky. App. 2001); see also Augenstein v.

Deutsche Bank Nat’l Tr. Co. as Tr. for Certificateholders of Soundview Home

Loan Tr. 2005-OPT4, Asset-Backed Certificates, Series 2005-OPT4, 647 S.W.3d

857, 862 (Ky. App. 2021).

             Mr. Rice initially asked for $23,450.00 for past due rent and late fees

but did not delineate how much was for rent. During a deposition in 2021, Mr.

Rice testified that he believed the Christies still owed $2,000.00 in unpaid rent.

However, on the first day of trial Mr. Rice contradicted that testimony, stating he

was mistaken and believed the Christies still owed $6,000.00 based on rental logs


                                         -12-
he had created. During the second day of trial, Mr. Rice attempted to introduce his

rental logs as an exhibit, but the Christies objected, arguing the logs contained

extraneous material concerning late fees and other expenses in addition to

payments, were self-serving, and were not best evidence. The circuit court

reserved the objection and allowed Mr. Rice to testify at length about the rental log

and permitted him to read figures and dates from it. Mr. Rice further testified the

Christies still owed at least $2,000.00, though he believed it was more, and that he

would be fine only requesting $2,000.00. After Mr. Rice’s testimony on the

subject, the circuit court sustained the objection and excluded the log.

             Considering Mr. Rice’s conflicting testimony and the circumstances,

we cannot hold that the circuit court abused its discretion prohibiting the

introduction of the rental logs. Furthermore, allowing Mr. Rice to testify about

them further diminished any possible prejudice in their exclusion. See Mun.

Paving Co. v. Farmer, 255 S.W.2d 618, 620-21 (Ky. 1953).

                                 IV.   CONCLUSION

             Accordingly, we reverse the circuit court’s judgment concerning the

Christies’ claim of equity and remand with instructions to dismiss. Furthermore,

finding no abuse of discretion in the circuit court’s exclusion of Mr. Rice’s rental

logs, we affirm the jury’s verdict regarding Mr. Rice’s counterclaim for unpaid

rent.


                                         -13-
           ALL CONCUR.



BRIEFS FOR APPELLANT:      BRIEF FOR APPELLEE:

Elmer J. George            Joseph R. Stewart
Jonathan R. Spalding       Lebanon, Kentucky
Lebanon, Kentucky




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